            Case 2:07-cr-00303-GEB Document 95 Filed 04/07/11 Page 1 of 2


     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     1710 Broadway, #111
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)443-1165
     Email: Rusklaw@comcast.net
 4

 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 07-303 GEB
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO CONTINUE
                 Plaintiff,              ) STATUS CONFERENCE
10                                       )
           vs.                           ) Court: Hon. Judge Garland E.
11                                       ) Burrell, Jr.
                                         ) Time:   9:00 a.m.
12   Rebecca Salsedo,                    ) Date:   May 6, 2011
                                         )
13               Defendant
14

15

16         Defendant Rebecca Salsedo is charged in an indictment alleging
17   four counts of violations of 21 U.S.C. §§s 841(a)(1) & § 846 –
18   Distribution and Conspiracy to Distribute Cocaine; Possession of
19   Cocaine with Intent to Distribute; and Manufacture of Marijuana.       Ms.
20   Salsedo is charged in counts one and three. A status conference was
21   previously set for April 8, 2011.     The parties are involved in
22   defense investigation, as well as negotiations and all parties request
23   that the current status conference be continued to May 6, 2011, if
24   that date is available with the Court.
25         The parties agree that time should be excluded under 18 U.S.C. §
26   3161(h)(8)(i) for defense preparation and under local code T4.
27   ///
28   ///




                                         -1-
                            Case 2:07-cr-00303-GEB Document 95 Filed 04/07/11 Page 2 of 2


     Dated: April 5, 2011                              Respectfully submitted,
 1

 2

 3                                                     __/s/ Shari Rusk___
                                                       Shari Rusk
 4                                                     Attorney for Defendant
                                                       Rebecca Salsedo
 5

 6
                                                        /s/ Jason Hitt
 7                                                     Jason Hitt
                                                       Assistant United States Attorney
 8

 9

10

11                                                     ORDER

12

13                         IT IS SO ORDERED.   The Court finds excludable time through May 6,

14   2011, based on Local Code T4, giving counsel reasonable time to

15   prepare.

16   Date:                  4/6/2011

17
                                                               _________________________
18                                                             GARLAND E. BURRELL, JR.
                                                               United States District Judge
19

20
     DEAC_Signature-END:




21

22
     61khh4bb
23

24

25

26

27

28




                                                         -2-
